
Smith, J.
We are of the opinion, that where, on the hearing of an application for a divorce, the court of common pleas has found that the petitioner, a married woman, is clearly entitled thereto, and has approved a decree granting such divorce, that it has not the right to require, as a condition precedent to the entry .thereof, that the costs in the case be paid by such petitioner, though the decree so approved, provided that she should have a judgment for such costs against her husband, the defendant. A rule of the court, requiring the petitioner in such case to pay the costs before the entry of the decree, is not warranted by, but is inconsistent with the laws of the state. We think the cáse comes clearly within the principle laid down in the case of Heffer v. Scranton, 27 Ohio St. 579.
It being conceded by the answer that the facts in this case are as above stated, a peremptory writ will be allowed as prayed for.
